  Case 1:23-mj-00016 Document 1-2 Filed 01/17/23 USDC Colorado Page 1 of 7




                  AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

Your affiant, David Love, a Special Agent with the Federal Bureau of Investigation (“FBI”), being
duly sworn deposes and states as follows to wit:
1. I am a Special Agent with the Federal Bureau of Investigation, assigned to the Denver Field
   Office. I am a graduate of the FBI Academy in Quantico, Virginia and have been an FBI Agent
   for over six years. I worked as an FBI Intelligence Analyst for three years before becoming an
   Agent. I am currently assigned to investigate crimes related to domestic terrorism. I have also
   investigated criminal violations involving organized crime, violent crime, and money laundering
   on the Southwest border of the United States. I have training and experience in interviewing and
   interrogation techniques, arrest procedures, search warrant applications, and the execution of
   searches and seizures. I have participated in search warrants on electronic devices, such as cell
   phones and computers. Prior to entering on duty with the FBI, I was a commissioned military
   intelligence officer in the United States Army.

2. This affidavit is being submitted in support of a criminal complaint and affidavit charging KYLE
   WILLIAM STAEBELL with violations of Title 18, United States Code, Sections 875(c), which
   prohibits the transmission “in interstate or foreign commerce any communication containing any
   threat to kidnap any person or any threat to injure the person of another . . . .”

3. Due to the limited purpose of this affidavit, I have not included each and every fact known
   concerning this investigation, although, to the best of my information, knowledge and belief, I
   have not omitted any material fact that undermines the statements and conclusions herein. I have
   set forth only the facts I believe are necessary to establish probable cause to show that
   STAEBELL committed the listed offense.

4. I have learned the information herein from my own personal knowledge, from speaking with
   other law enforcement officers and other individuals, and from reviewing reports prepared by
   others.

                                       PROBABLE CAUSE

                                     Summary of Investigation

5. In the early morning hours of January 16, 2023, an individual that the FBI has identified as
   KYLE WILLIAM STAEBELL made threats of violence to the Federal Bureau of Investigation
   (“FBI”) office in Denver, Colorado and an office of the Department of Homeland Security
   (“DHS”). STAEBELL made one such threat directly to FBI’s offices using the FBI’s National
   Threat Operations Center (“NTOC”) online tip line and made another series of threats using a
   Twitter account. STAEBELL also used email to make a threat of violence to a Colorado-based
   performing arts group.
  Case 1:23-mj-00016 Document 1-2 Filed 01/17/23 USDC Colorado Page 2 of 7




                                    FBI NTOC Tip Line Threat

6. On January 16, 2023, at 3:10 a.m. Eastern Time (1:10 a.m. Mountain Time), an online tip was
   submitted to NTOC. The NTOC tip line asks individuals who are submitting tips to choose from
   categories and provide a description of the threat in narrative form. The instant threat is as
   follows:

       Violation: Terrorism
       Emergency: False
       Threat To Life: True
       Submitted Text: Tomorrow I am going to walk up to the FBI offices and start shooting
       everyone I see and will throw explosives to kill as many of you cocksuckers as
       possible!!!!!!!!!!!!!!!1

       Violation Questions
       What type of attack are you reporting?: Mass Shooting at the FBI Denver Office Tomorrow
       What makes you believe the attack will occur? How do you know the attack will occur?: I
       will do a mass shooting at the denver FBI office tomorrow!

       Is the attack being organized by a group or individual? Are there any known associates?: I
       am the leader of an islamist terrorist cell. Allah ackbar!!!!!!!!!!!!!1
       Does this person or group have access to firearms, explosives, or any other chemical?
       If so, what weapons are involved?: I have explosives, automatic weapons, everything i
       need!!!!!!!!!!!!!!!1
       Do you know the plan of attack(when, where, has there been any rehearsals of the attack)?:
       Tomorrow I will do the attack myself.

7. The NTOC tip line also allows the individual submitting the tip to provide identifying
   information. In this case, the identifying information was provided as “Kyle Staebell” as
   follows:

       First Name: Kyle
       Middle Name:
       Last Name: Staebell
       DOB: **/**/1989 [redacted]
       Phone Type: Cell
       International: False
       Phone Number: 720253**** [redacted]
       Phone Ext:
       Email: kylestaebell@gmaill.com [sic]
       Type: Residential
       Address: ***** [redacted] (hereinafter, the “Lakewood Address”)
       City: Lakewood
       State: CO
       Zip: 80226
  Case 1:23-mj-00016 Document 1-2 Filed 01/17/23 USDC Colorado Page 3 of 7




8. Finally, the NTOC tip line captures the IP address of the individual submitting the tip. Here, IP
   address “73.153.142.149” submitted the NTOC tip described above.

9. On January 16, 2023, an emergency disclosure request was made to Comcast for IP address
   73.153.142.149. Comcast responded to FBI’s request and reported that this IP address resolves
   to an account owned by an individual with the last name “Staebell” at a particular address in
   Evergreen, Colorado (the “Evergreen Address”). As described below, I believe that the owner of
   this Comcast account is STAEBELL’s father (“Staebell’s Father”).

10. Accordingly, I believe that the NTOC threat described above was made from the Evergreen
    Address.

                                           Twitter Threats

11. I have reviewed an FBI report, and learned that in the early morning hours of January 16, 2023,
    Twitter account @KyleofLight posted the following Tweets:
  Case 1:23-mj-00016 Document 1-2 Filed 01/17/23 USDC Colorado Page 4 of 7




12. On January 16, 2023, an emergency disclosure request was made to Twitter for account
    @KyleofLight. Twitter responded to this request and reported that the email address associated
    with the account is “kwstaebe1@gmail.com” and the phone number associated with the account
    is 720-253-**** (that is, a different email address but the same phone number as associated with
    the NTOC tip).

13. Twitter also provided login IP addresses for four logins around the time of the Tweets. One of
    the logins—at 07:17 Zulu (12:17 a.m. Mountain Time)—was associated with IP address
    73.153.142.149. This is the same IP address that was used to submit the NTOC threat, as
    described above, and that resolves to Staebell’s Father’s Comcast account at the Evergreen
    Address. The other IP addresses reported by Twitter resolve to other IP addresses for which
    emergency requests have not been made.

14. I believe that Staebell’s Father is, in fact, STAEBELL’s father. In addition to having the same
    last name, a Lakewood Police Department report from 2016 in which a burglary was reported at
    the Lakewood Address identifies Staebell’s Father and his sister as the “landlord” of that
    property. The sister told police that Staebell’s Father owns the property, but that Staebell’s
    Father’s two sons, including “Kyle Staebell” (with the same date of birth as STAEBELL listed
    on the NTOC tip), live there with a family friend.

                         Email Threat to a Colorado Performing Arts Group

15. At around 12:30 a.m. on January 16, 2023, the ticketing email address used by a Colorado-based
    performing arts group (the “Performing Arts Group”) received an email from “Kyle Staebell”
    using email address “kylestaebell@gmail.com.” The subject line of the email stated: “Mass
    Shooting Tomorrow!!!!!” The body of the email was as follows:




16. I learned from the Denver Police Department that the Performing Arts Group located a
    surveillance video from mid-December 2022 in which a person matching STAEBELL’s
    description appeared to circumvent security and enter restricted parts of the building, including
    backstage. I viewed a still from the video and believe that that the person in the video was
    STAEBELL. As described in paragraph 25.e, infra, STAEBELL admitted to going into the
    Performing Arts Group’s building and going backstage.
  Case 1:23-mj-00016 Document 1-2 Filed 01/17/23 USDC Colorado Page 5 of 7




                              The Evergreen and Lakewood Addresses

17. In the NTOC threat, STAEBELL self-reported that he lives at the Lakewood Address. In
    addition, open-source research has revealed that STAEBELL lived at Lakewood Address. His
    Colorado driver’s license resolves to Lakewood Address. Further, as described above, in 2016, a
    police report identified STAEBELL as living at the Lakewood Address.

18. On January 16, 2023, officers of the Lakewood Police Department on surveillance observed a
    silver 4-Runner parked at the Lakewood Address. This vehicle, however, is registered to
    Staebell’s Father at the Evergreen Address.

19. On January 16, 2023, at around 11:15 a.m., two individuals left the Lakewood Address. Neither
    was STAEBELL. Lakewood PD interviewed one of these individuals who said that STAEBELL
    was not in the residence and was not welcome there.

20. As also described above, I believe that the NTOC threat and at least one of the Twitter threats
    were made from the Evergreen Address.

                                   Arrest, Searches, and Interview

21. On or about January 16, 2023, the Hon. James P. O’Hara authorized warrants to search the
    Lakewood Address, the Evergreen Address, and STAEBELL’s person.

22. Before these warrants could be executed, however, the Jefferson County Sheriff’s Office
    received a disturbance call from STAEBELL’s mother from the Evergreen Address. In the call,
    STAEBELL’s mother stated in sum and substance that her son, STAEBELL, was arguing with
    his brother and, in the course of the argument, threw a mug on the ground and threw dirt at his
    brother. The dispatcher advised the family to leave the residence and find the law enforcement
    officers who were waiting outside. STAEBELL remained inside the house at first while
    STAEBELL’s family left the residence. Shortly thereafter, STAEBELL came out of the
    residence onto the driveway, holding a laptop, a cellphone, his passport, and a jacket.
    STAEBELL addressed the law enforcement officers and said, in sum and substance and in part:
    I’m right here. I’ve been waiting to talk with you guys. It was my girlfriend, she’s with Mexico
    intelligence and she hacked my accounts and social media.

23. Shortly thereafter, law enforcement officers made entry into the Evergreen Address. During
    execution of the search warrant, officers located in STABELL’s bedroom, among other things:

       a. What appeared to be a Molotov cocktail. More specifically, the item was a bottle with a
          rag coming out of it and what, in an FBI bomb technician’s training and experience,
          smelled like evaporated kerosine. The FBI bomb technician stated that kerosine is an
          effective ingredient that can be used in a Molotov cocktail.

       b. A notebook containing handwritten notes, including:
  Case 1:23-mj-00016 Document 1-2 Filed 01/17/23 USDC Colorado Page 6 of 7




   Based on my involvement in this investigation, I believe that these handwritten notes are
   evidence of STAEBELL brainstorming the online threats described herein. For instance, in the
   handwritten note, he mentions the FBI and DHS, the two agencies that were also mentioned in
   the Twitter threats. He also seems to ruminate about going to “news stations” with the complaint
   that his “career burned dow[n],” something that is also repeated in the Twitter threats. Finally,
   he wrote “more [redacted].” The redacted word in the note appears to be a reference to the
   Performing Arts Group that received the email threat detailed in paragraph 15, supra.

24. Based on officers’ observations and conversations with members of the Staebell family, it
    appeared that STAEBELL was living at the Evergreen Address.

25. On January 16, 2023, STAEBELL was interviewed by law enforcement officers. After being
    advised of his Miranda rights, STAEBELL agreed to speak to officers and stated the following,
    in sum and substance and in part:

       a. STAEBELL’s girlfriend is responsible for any threatening communications sent from his
          accounts. He broke up with her two days ago so she must be angry. In order to transmit
          threats from the Evergreen Address’s IP address, STAEBELL said she must have
          remotely connected to his computer.

       b. STAEBELL is upset at the government because the government had not responded to
          previous reports that he filed. STAEBELL stated the government is full of pedophiles.

       c. Agents asked STAEBELL about the Molotov cocktail. He said that the substance in the
          bottle was a mixture of alcohol, paint, and glue. He said that the rag was in the bottle
          because it made it easier to sniff.

       d. STAEBELL told agents he drank a lot the prior night. Later in the interview that he told
          agents that he did not actually drink and that he was sober last night.

       e. STAEBELL told agents that he went into the Performing Arts Group’s building. He
          claimed that he walked through an unlocked door and entered the building because he
          wanted to conduct an orchestra with a Harry Potter wand that he claimed he had found.
  Case 1:23-mj-00016 Document 1-2 Filed 01/17/23 USDC Colorado Page 7 of 7




           STAEBELL stated that orchestra conductors use witchcraft wands to conduct orchestras.
           STAEBELL stated he went backstage while he was in building.

   Based on the above captioned information, it is requested that a warrant be issued for KYLE
   WILLIAM STAEBELL for violations of Title 18, United States Code, Section 875(c).

                                                           Respectfully submitted,

                                                           s/ David Love
                                                           David Love, Special Agent
                                                           Federal Bureau of Investigation


Subscribed and sworn to before me by reliable electronic means this 17th day of January, 2023.



___________________________
HON. JAMES P. O’HARA
U.S. MAGISTRATE JUDGE
DISTRICT OF COLORADO


Affidavit reviewed and submitted by Andrea Surratt, Assistant United States Attorney.
